
726 S.E.2d 855 (2012)
STATE of North Carolina
v.
Thaddeus Dee JONES.
No. 500P11.
Supreme Court of North Carolina.
June 13, 2012.
Anne Bleyman, for Jones, Thaddeus Dee.
John F. Oates, Jr., Assistant Attorney General, for State of North Carolina.
Ernie Lee, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the conditional petition filed on the 16th of December 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*856 "Dismissed as Moot by order of the Court in conference, this the 13th of June 2012."
